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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

                                                        03-md-1570 (GBD)(SN)
 In re Terrorist Attacks on September 11, 2001
                                                        ECF Case

This document relates to:

Ashton, et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)

                     ASHTON PLAINTIFFS’ NOTICE OF MOTION
                      TO ADD ADDITIONAL PLAINTIFFS TO ITS
                SIXTH AMENDED COMPLAINT AGAINST THE TALIBAN

       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law and the

Declaration of Andrew J. Maloney (“Maloney Declaration”), along with the exhibits attached

thereto, the Ashton Plaintiffs, by and through their counsel, respectfully move that this Court:

       1. Order that the Ashton Sixth Amended Complaint is deemed amended to add

           Additional Plaintiffs listed on Exhibit A to the Maloney Declaration as plaintiffs

           against the Taliban;

       2. Order that the addition of the Additional Plaintiffs supplements by incorporation into,

           but does not displace, the underlying operative Ashton Sixth Amended Complaint;

       3. Order that prior service, orders, and judgments entered in the case remain in effect as

           to all parties, including the default judgment obtained by the Ashton Plaintiffs against

           the Defendant Taliban entered on May 12, 2006 at ECF 1797;

       4. Order that all Additional Plaintiffs are bound by all prior rulings made in this case,

           including the Court’s prior order on service by publication, ECF 445;

       5. Order that Case Management Order #2, ECF 247, ¶12 applies to the Additional

           Plaintiffs listed on Exhibit A to the Maloney Declaration such that re-service of the

           Taliban is not required;

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       6. Order that upon granting the Ashton Plaintiffs’ motion, the names of the Additional

          Plaintiffs included on Exhibit A to the Maloney Declaration shall be entered in the

          Court’s CM/ECF system; and

       7. Granting such other and further relief that the Court deems just and proper.

Dated: April 18, 2024                               Respectfully submitted,


                                                            /s/
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